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                     IN THE UNITED STATES DISTRICT COURT
                                                                            FILED
                      FOR THE WESTERN DISTRICT OF TEXAS JUL                        2 32018
                                WACO DWISION            GIERK                   U.S.
                                                                                         CLERK




    LAWRENCE WOODS,

                        Movant,

    V.                                             Civil No. 6:18-cv-       18 C A 20 3
                                                   Crim. No. 6:15-cr-00032-WSS-1
    UNITED STATES OF AMERICA,

                        Respondent.


             MEMORANDUM OF LAW IN SUPPORT OF MOTION UNDER
         28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT SENTENCE
                         BY A PERSON IN FEDERAL CUSTODY

            COMES Movant, LAWRENCE WOODS ("Woods"), appearingpro Se, and in

    support of this motion would show as follows:

                                     I. JURISDICTION

            Woods is timely filing a Motion to Vacate, Set Aside, or Correct a Sentence by

    a Person in Federal Custody Pursuant to 28 U.S.C.        §   2255 ("    2255 Motion")

    contemporaneously with this Memorandum of Law. Jurisdiction is vested in this

    District Court that presided over and imposed sentence pursuant to Rule 4(a) of the

    Rules Governing § 2255 Proceedings. SeeLitekyv.      United States,   510 U. S. 540,562

    (1994).

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             II. STATEMENT OF THE GROUNDS FOR RELIEF

      A.     Whether pretrial counsel's failure to: (1) Move for the recusal of Judge

Walter S. Smith, Jr., who was publically reprimanded and under Federal investigation

during the proceedings; (2) Challenge the Court's subject matter jurisdictional

authority knowing that nothing that was possessed of questioning ever affected

interstate commerce; (3) Present and discuss the final version of the PSR before

sentencing; (4) Seek any mitigating expert opinions that support innocence; and (5)

Acknowledge that the Plea Agreement signed was a different version than the one

that was read in Court deprived Woods of effective assistance of pretrial and plea

context counsel under the Sixth Amendment to the Constitution of the United States.

      B.     Whether sentencing counsel's failure to: (1) Challenge the Double

Jeopardy Clause violation, knowing that the lesser offense is defined in the greater

offense; (2) Challenge the wrongful imposition of the      §   2G2 enhancement; (3)

Acknowledge the breach and faultiness of the Plea Agreement after the investigator,

Special Agent Jaime Gorsuch testified; (4) Object to the entering of dubious Exhibits;

and (5) Wrongfully facilitated and advised the acceptance of an unknowing and

involuntary plea deprived him of effective assistance of counsel and a fair and just

sentence.
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       C.      Whether appellate counsel's failure to: (1) Consult Woods about factual

details of constitutional violations prior to filing an official Brief [Attorney Gregory

L. Ahlgren]; (2) Ahlgren was disciplined by his superiors during the course      of the

appellate proceeding and was ultimately relieved from duty which proves his failures;

and (3) Withdraw the Brief submitted by Ahigren to make amendments and submit

an effective Brief that would outline the multiple violations of the Constitution

[Attorney Christopher Michael McCaffrey] deprived Woods of effective assistance

of appellate counsel and a fair and meaningful appellate review.

        D.     Whether Judge Walter S. Smith, Jr.'s abuse of discretion during each

phase of the proceedings, as follows: (1) Not recusing himself pursuant to 28 U.S.C.

§   455(a); (2) Accepting guilty plea made under obvious duress; (3) Denying Woods'

Motion to Withdraw Plea of Guilty; (4) Proceeding with sentencing phase after

verifying that Woods had not viewed and discussed the final PSR with his counsel;

(5) Rejecting valid objections to the PSR; (6) Relying of contested facts in the PSR

to support the sentencing enhancements; (7) Violating the Double Jeopardy Clause;

 and (8) Ordering that both sentences to be ran consecutively deprived Woods of Due

 Process rights as outlined in the Fifth and Fourteenth Amendments.




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                               III. STATEMENT OF THE CASE

           A.       Procedural Background

           On September 8, 2015, a grand jury sitting in the United States District Court

     for the Western District of Texas, Waco Division returned a seven (7) count

     Superseding Indictment charging Woods. See Doc. 27.1 Counts is - 7s charged

     Woods with Production of Child Pornography, in violation of 18 U.S.C.              §   2551(a)

     and (e). Id.

            On March 13, 2015, the United States Attorney in the United States District

     Court for the Western District of Texas, Waco Division filed a Superseding

     Information charging Woods. See Doc. 32. Count 8ss charged Woods with Receipt

     of Child Pornography, in violation of 18 U.S.C. § 2552(a)(2). Id. Count 9ss charged

     Woods with Possession of Child Pornography, in violation of 18 U.S.C.                          §


     2552(a)(5)(B). Id.

             On October 15,2015, a Re-arraignment Hearing was held before Judge Walter

     S. Smith, Jr. ("Judge Smith"). See Doc. 36. Woods waived his right to Indictment and

     entered a guilty plea as to Counts 8ss and 9ss of the Superseding Information,

     pursuant to a written Plea Agreement. See Docs. 34, 35.

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             "Doe." refers to the Docket Report in the United States District Court for the Southern
     District of Texas, Laredo Division in Criminal No.5:1 7-crOO 144-1, which is immediately followed
     by the Docket Entry Number.
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         On April 1, 2016, Woods filed a Motion to Withdraw Plea of Guilty. See Doe.

51. On April 6,2016, a motion hearing was held before Judge Smith. Woods affirmed

to tell the truth and the AUSA provided argument against the motion. After hearing

both parties, the Court denied Woods' Motion to Withdraw Guilty Plea. See Does.

51, 52, 53. Further, on April 14, 2016, Woods filed a Response re: Order denying

Motion to Withdraw Plea of Guilty. See Doe. 56.

         On April 14, 2016, Woods was sentenced to a total term of 360 months'

imprisonment, 10 years Supervised Release, $4,000 Fine, and a Mandatory Special

Assessment Fee of $200. See Does. 58, 66.

         On April 19, 2016, Woods timely filed a Notice of Appeal. See Doc. 64.

         On April 24, 2017, the United States Court of Appeals for the Fifth Circuit

("Fifth Circuit") issued an Order affirming the judgment of the District Court. See

Doe. 77.

         B.    Statement of the Relevant Facts

                1.    Offense Conduct

         Woods, through his attorney's advise, agreed to the following stipulation of

facts:

         In September of 2014 Special Agent Dan Chadwick ("Chadwick"),
         Federal Bureau of Investigation, U.S. Army Criminal Investigation
         Division and the Temple Police Department began investigating a case

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involving the defendant and minor female victims who had been enticed
via Facebook to take sexually explicit conduct photos/videos of
themselves and send them to the defendant who was posing as Dion
Starr or Savage King. The defendant met the minors who were under the
age of 18 on Facebook and claimed to be part of a modeling business
that would pay money for pictures. The victims were told that the more
sexually explicit the pictures, the more money they would make.

The FBI was alerted when two sister victims and their parents notified
law enforcement in Boston, Massachusetts about the activity. During the
same time frame, victims from the Temple, Texas area began notifying
law enforcement as well. Through the investigation, law enforcement
identified the defendant as Dion Starr and Savage King. It was learned
that the defendant was also active duty United States Army. Law
enforcement executed search warrants during the investigation and
recovered numerous cell phones, computers and other media belonging
to the defendant. Law enforcement then began to match the images of
the defendant's phones and computers with minor victims so that the
 victims could be located and interviewed.

During the investigation, as an example, minors A.G., S.M., AX., K.M.
and A.M. were identified and interviewed. Each ofthe victims who were
under the age of 18 sent sexually explicit images to the defendant via the
internet. Law enforcement identified the sexually explicit images of the
victims on the defendant's phones, computers and Facebook accounts,
etcetera.

Law enforcement executed a search warrant on the defendant's
residence on November the 21St of 2014. The residence is located in
Killeen, Texas which is in the Waco Division of the Western District of
Texas. On the same day the defendant was arrested and apprised of his
constitutional protections which he waived. The defendant agreed to
cooperate and speak with law enforcement. During the interview the
defendant admitted that he was Dion Starr and Savage King and that he
used these personas on Facebook. He also admitted he convinced the
girls he met on Facebook and other social media that he would pay them
money for pictures of themselves. He told the girls that they could make
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      more money for more explicit images. He agreed that he never paid
      them. He just did it to scam them into sending him sexually explicit
      images of themselves. The majority of the females were under the age
      of 18.

      The defendant knowingly received and possessed images of minor
      females engaged in sexually explicit conduct. The images had been
      transported in interstate and foreign commerce using a means and
      facility of interstate and foreign commerce. The images had also been
      produced using materials that had been mailed, shipped and transported
      in and affecting interstate and foreign commerce by means, including
      computer. In addition, some of the victims resided outside the State of
      Texas and sent their images from outside the State of Texas to the
      defendant who was in State of Texas.

See Doc. 44 at 9-12.

               2.   Plea Proceeding

      On October 15,2015, a Re-arraignment Hearing was held before Judge Smith.

See Doe. 36. Woods waived his right to Indictment and entered a guilty plea as to

Counts 8ss and 9ss of the Superseding Information, pursuant to a written Plea

Agreement. See Docs. 34, 35. In exchange for Woods' guilty plea, the government

agreed to: (1) dismiss any remaining charges at the time of sentencing; and (2) refrain

from prosecuting the defendant for any other 18 U.S.C. violations. See Doc. 44 at 7.

               3.   Sentencing Proceeding

      On April 14, 2016, a Sentencing Hearing was held before Judge Smith. See

Doc. 51. The Court sentenced Woods to a total term of 360 months' imprisonment:



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240 months as to Count 8ss; and 120 months as to Count 9ss with the terms imposed

to be served consecutively. Followed by 10 years Supervised Release on each of

Counts 8ss and 9ss with the terms to be served concurrently with each other. The

Court ordered payment of $4,000 Fine and a Mandatory Special Assessment Fee of

$200. See Doe. 66. All the remaining counts of the Indictment(s) were dismissed on

the motion of the United States. Id. A timely Notice of Appeal was filed on April 19,

2016. See Doe. 64.

               4.    Appellate Proceeding

      On Appeal, Woods contended that the District Court failed to give adequate

consideration to the fact that he suffers from Post-Traumatic Stress Disorder

("PTSD") related to his military service in Iraq. Further, Woods argued that the Court

imposed special condition of supervised release limiting Woods' access to the

internet is overbroad and will limit his employment opportunities. However, the Fifth

Circuit opined that Woods has shown no error, plain or otherwise. Therefore, his

judgment was affirmed. See Doe. 77.

               IV. COGNIZABLE ISSUES UNDER 28             U.s.c. §   2255

      The function of a § 2255 Motion to Vacate, Set Aside or Correct Sentence is

to inquire into the legality of the federal prisoner's detention. See Heflin   v.   United


States,   358 U. S. 415, 421 (1959). Section 2255 provides four grounds that justify

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relief for a federal prisoner who challenges the imposition or length of his or his

detention: (1) "that the sentence was imposed in violation of the Constitution or laws

of the United States"; (2) "that the court was without jurisdiction to impose such

sentence"; (3) "that the sentence was in excess of the maximum authorized by law";

or (4) "that the sentence is otherwise 'subject to collateral attack." 28 U. S. C. § 2255

(1994). Despite this apparently broad language, violations of federal law are only

cognizable if they involve a "fundamental defect" resulting in a "complete

miscarriage of Justice." Davis v. United States, 417 U. S. 333, 346 (1974).

         Section 2255 permits a federal prisoner to bring a collateral challenge by

moving the sentencing court to vacate, set aside, or correct the sentence. 28        U.s.c.


§   225 5(a). Once a petitioner files a § 2255 motion, "[u]nless the motion and the files

and records of the case conclusively show that the prisoner is entitled to no relief, the

court shall    . . .   grant a prompt hearing thereon, determine the issues and make

findings of fact and conclusions of law with respect thereto." 28 U.S.C.        §   2255(b).

A petitioner is entitled to an evidentiary hearing if he "alleges facts that, if true,
                                                                      (5th
would entitle him to relief." United States v. Batamula, 823 F.3d 237      Cir. 2016).

"[A] petitioner need only allege       not prove    reasonably specific, non-conclusory

facts that, if true, would entitle him to relief." United States v. Kayode, 777 F.3d 719

(5th
       Cir. 2014). However, a district court need not hold a hearing if the allegations are
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"patently frivolous," "based upon unsupported generalizations," or "affirmatively

contradicted by the record." Holmes, 876 F.2d at 1553.

      A    §   2255 Motion requires the district court to either order the government to

respond or to hold an evidentiary hearing unless the Motion, files and record of the

case demonstrate that no relief is warranted. See Aron, 291 F.3d at 715 n.6. "Under

28 U. S. C. § 2255, unless the motion and record as constituted show conclusively

that relief is not available, an evidentiary hearing should be held." 28 U.S.C.              §

2255(b).

      Upon granting a § 2255 Motion, "[t]he court shall vacate and set the judgment

aside and shall discharge the prisoner or resentence him.. . or correct the sentence

as may appear appropriate." 28 U. S. C.        §   2255. The remedy provided in    §   2255 is

broad and flexible, and entrusts the federal courts with the power to fashion

appropriate relief. See Andrews     v.   United States, 373 U. S. 334, 339 (1963).

      Ineffective assistance of counsel claims are cognizable in a          §   2255 setting

because they are of constitutional dimension. See Kimmelman          v.   Morrison, 477 U.

S.365, 371-79 and n.3 (1986); Stricklandv. Washington, 466 U. 5. 668 (1984).

      To prevail on a claim of ineffective assistance of counsel, Woods must show

that (1) his counsel's representation fell below an objective standard of

reasonableness, and (2) there is a reasonable probability that, but for counsel's

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unprofessional errors, the result of the proceeding would have been different. See

Kimmelman, 477 U. S. at 375.

      The "reasonableness of counsel's challenged conduct" must bejudged "on the

facts of the particular case, viewed as of the time of counsel's conduct." Lockhart v.

Freiwell, 506 U.S. 364, 371(1993)(citing Strickland, 466 U. S. at 690). In the course

of the latter portion of this inquiry, the Court must consider not merely whether the

outcome of the defendant's case would have been different, but also whether

counsel's deficient performance caused the outcome to be unreliable or the

proceeding to be fundamentally unfair. See Lockhart, 506 U. S. at 368-73.

"Unreliability or unfairness does not result if the ineffectiveness of counsel does not

deprive the defendant of any substantive or procedural right to which the law entitles

him." Lockhart, 506 U. S. at 372. Thus, prejudice is measured by current law and not

by the law as it existed at the time of the alleged error. Id

       The familiar two-part test of Strickland has been applied by the Supreme Court

and the Fifth Circuit in a wide variety of contextual challenges to the effectiveness

of counsel's performance. With regard to the performance prong of the

Strickland/Hill test, "if a defendant is represented by counsel and pleas guilty upon

advice of counsel, the voluntariness of the plea depends on whether counsel's advice

was within the range of competence demanded of attorneys in criminal cases."

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McMann v. Richardson, 397 U. S. 759 (1970). "[T]o prove prejudice, [Woods] must

show that there is a reasonable probability that, but for counsel's unprofessional

errors, the result of the proceeding would have been different." Id. at 84 1-42. "And,

of course, 'any amount of actual jail time has Sixth Amendment significance,' which

constitutes prejudice for purposes of the Stricklandtest." Glover v. United States, 531

U.S. 198, 203 (2001). Additionally, "[o]ne of the most precious applications of the

Sixth Amendment may well be in affording counsel to advise a defendant concerning

whether he should enter a plea of guilty." Padilla     v.   Kentucky, 130 S. Ct. 1473

(2010). "Before deciding whether to plead guilty, a defendant is entitled to 'the

effective assistance of competent counsel." See Missouri v. Frye, 132 S. Ct. 1399

(2012); Lafler v. Cooper, 132 S. Ct. 1376 (2012); Premo       v.   Moore, 131 S. Ct. 733,

743 (2011); Padilla v. Kentucky, 130 5. Ct. 1473, 1480-81 (2010).

       In an effort to provide guidance as to how Hill applies to differing factual

settings, the Supreme Court decided Lafler and Frye and established a constitutional

standard applicable in all of the separate phases of a criminal trial to which the Sixth

Amendment applies, including the point at which a defendant decides whether to

plead guilty to a crime. In Lafler, the Court held that when counsel's ineffective

advice led to an offer's rejection, and when the prejudice alleged is having to stand

trial, a defendant must show that, but for the ineffective advice, there is a reasonable

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probability that the plea offer would have been presented to the court, that the court

would have accepted its terms, and that the conviction or sentence, or both, under the

offer's terms would have been less severe than under the actual judgment and

sentence imposed. In Fiye, the Court held that the Sixth Amendment right to effective

assistance of counsel extends to the consideration of plea offers that lapse or are

rejected, and that right applies to "all 'critical' stages of the criminal proceedings."

      In the context of sentencing, prejudice means that but for counsel's error(s),

acts and/or omissions, his sentence would have been significantly less harsh. See

United States   v.   Grammas, 371 F.3d 281 (5th Cir. 2004); United States th v. Conley,

349 F.3d 837, 839 (5th Cir.2003). In a ruling on a motion under § 2255, the court is

required to hold a hearing "[u]nless the motion and the files and records of the case

conclusively show that the prisoner is entitled to no relief." 28 U.S.C.      §   2255.

      A criminal defendant is also entitled to constitutionally effective assistance of

counsel on direct appeal as of right. See Evitts v. Lucey, 469 U. S. 387, 396 (1985);

Reed v. Stephens, 739 F.3 d 753     (5th Cir.
                                                2014); United States v. Reinhart, 357 F. 3d

521, 531 (5th Cir. 2004). A criminal defendant has a Sixth Amendment right to the

effective assistance of counsel on direct appeal. Evitts, 469 U.S. at 396. Claims for

ineffective assistance of appellate counsel are governed by the two-part Strickland

standard. See Dorsey v. Stephens, 720 F.3d 309, 319 (5th Cir. 2013).

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      In order to prove ineffective assistance of appellate counsel, Woods must first

show that his attorney's performance was deficient, and second, he must demonstrate

that such deficiency caused him prejudice. See Strickland, 466 U.S. at 687; Jones v.
                             (5th Cir. 1998). To   prevail on his claim that his attorney
Jones, 163 F.3d 285, 300

failed to adequately brief an issue on direct appeal, Woods must show initially that

the appeal would have had, with reasonable probability, a different outcome if his

attorney adequately addressed the issue. See Jones, 163 F.3d at 302. "This requires

that {the Court] counter-factually determine the probable outcome on appeal.          .   ."

United States   v.   Williamson, 183 F.3d 458, 463 (5th Cir. 1999). Woods must then

demonstrate that his attorney's deficient performance led to a fundamentally unfair

and unreliable result. See Goodwin, 132 F .3 d at 176. A claim of ineffective assistance

of counsel is reviewed de novo. See Williamson, 183 F.3d at 461. The Court must first

determine whether there is a reasonable probability that, but for counsel's deficient

performance, the result of the appeal would have been different.

      Counsel is not deficient for not raising every non-frivolous issue on appeal. See

Williamson, 183 F.3d at 462. Instead, to be deficient, the decision not to raise an issue

must fall "below an objective standard of reasonableness." Strickland, 466 U.S. at

688. This reasonableness standard requires counsel "to research relevant facts and

law, or make an informed decision that certain avenues will not prove fruitful. Solid,

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meritorious arguments based on directly controlling precedent should be discovered

and brought to the court's attention." Williamson, 183 F.3d at 462-63.

       Rule 8 of the Rules Governing § 2255 Proceedings states: "If the           [   2255]

motion is not dismissed, the judge must review the answer, any transcript and records

of prior proceedings, and any materials submitted... to determine whether an

evidentiary hearing is warranted". See United States v. Cavitt, 550 F.3d 430, 44 1-42
(5th Cir.
            2008). In § 2255 proceedings, "[ujnless the motion and the files and records

of the case conclusively show that the prisoner is entitled to no relief, the court shall

    grant a prompt hearing thereon, determine the issues, and make findings of fact

and conclusions of law with respect thereto." 28 U.S.C.         §    2255. An evidentiary

hearing in open court is required when a movant presents a colorable Sixth

Amendment claim showing disputed facts beyond the record and a credibility

determination is necessary in order to resolve the issue. See United States v. Edwards,

442 F.3d 258, 264 (5th Cir. 2006).

        Upon granting a § 2255 Motion, "[t]he court shall vacate and set the judgment

aside and shall discharge the prisoner or resentence him.      . .   or correct the sentence

as may appear appropriate." 28 U. S. C. § 2255.




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                                    V DISCUSSION

      As a preliminaiy matter, Woods respectfully requests that this Court be mindful

that pro se pleadings are to be construed liberally. See United States v. Kayode, 777
           (5th Cir.   2014); Estelle        Gamble, 429 U.S. 97, 106 (1976) (same); and
F.3d 719                                v.


Haines v. Kerner, 404 U.S. 519, 520 (1972) (same).

      John Richard Donahue ("Donahue"), Woods' appointed attorney, was

completely ineffective and incompetent as a legal counselor throughout the entire

duration of the case. It should be understood that it is impossible for a first time

defendant in the legal system to be capable of accurately discerning effective

representation versus ineffective representation where there was no standard for

comparison prior to the end result of the case.

      A.      Pretrial Counsel's Failure To: (1) Move for the Recusal of
              Judge Smith. Who Was Publically Reprimanded and Under
              Federal Investigation During the Proceedings: (2) Challenge
              the Court's Subject Matter Jurisdictional Authority Knowing
              That Nothing That Was Possessed of Questioning Ever
              Affected Interstate Commerce: (3) Present and Discuss the
              Final Version of the PSR Before Sentencing: (4) Seek Any
              Mitigating Expert Opinions That Support Innocence: and (5)
              Acknowledge That the Plea Agreement Signed Was A
              Different Version Than the One That Was Read in Court
              Deprived Woods of Effective Assistance of Pretrial and Plea
              Context Counsel Under the Sixth Amendment to the
              Constitution of the United States.



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             1.     Failure to Move for the Recusal of Judge Smith. Who Was
                    Publically Reprimanded and Under Federal Investigation
                    During the Proceedings

      In accordance with the Sixth Amendment of the U.S. Constitution, every

citizen has a right to effective counsel. In accordance with the Federal Rules of

Criminal Procedures ("FRCP"), Rule 4131 discusses the failure to secure a judges

recusal. It plainly states that the U.S. Constitution requires recusal where probability

of actual bias on part of a judge or decision maker is too high to be constitutionally
                                                (9th
tolerable. See Hurles v. Ryan, 706 F.3 d 1021          Cir. 2013). This rule implies that the

attorney on his own accord, must do what is in the best interest of the entire Legal

system and secure the judges recusaL Especially when the circumstances, like an

allegation of criminal activity, points to evidence that Judge Smith would display

deep-seated bias or antagonism that would make fairjudgement impossible. Likewise,

Rule 4054 of the FRCP discusses the failure to move for the recusal ofajudge. This

rule has made it plain to see that a lawyers lack to properly request the recusal of a

judge who satisfies the manifest necessity is negligent and has violated Due Process

rights as outlined in the Fourteenth Amendment.

      Donahue's ineffective counseling resulted in a unfair and constitutionally

prejudice conviction. The outcome would have been significantly different had

Donahue did his job and challenged the validity of Judge Smith's presiding over this

case. Accordingly, Woods' sentence should be vacated.

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                2.      Failure to Challenge the Court's Subject Matter
                        Jurisdictional Authority Knowing That Nothing That Was
                        Possessed of Questioning Ever Affected Interstate
                        Commerce

         This Court is legally unauthorized to hear these charges on account of Subject

Matter Jurisdiction. 18 U.S.C.       §   2252(a)(l) punishes any person who knowingly

mails, or transports or ships in interstate or foreign commerce by any means,

including by computer, any child pornography. The analysis turns on what Congress

meant by the phrase "transports in interstate commerce." Under the plain language

of   §   2252(a)(l), the statute requires that a person mail, transport, or ship child

pornography interstate. That is to say, a plain reading of the statute seems to require

at least some method of interstate travel.

          18 U.S.C. §   2252(a)(l) does not include the word "facility." Thus, the phrase

"interstate or foreign commerce" modifies the actus reus proscribed in the

statute--mailing, transporting or shipping child pornography. Unlike the Travel Act,

§   2252(a)(l)'s jurisdictional element is not focused on the means the defendant uses

to mail, transport, or ship child pornography, and its connection to interstate

commerce. Rather, it requires that the defendant mail, transport, or ship child

pornography interstate. Thus, the United States Court ofAppeals for the Ninth Circuit

precedent indicates that criminal statutes punishing the transmission of the relevant



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material in interstate or foreign commerce require the material itself to cross state
                                                               (9th
lines. See   United States   v.   Nader,   542 F.3d 713, 717          Cir. 2008).

      Donahue should have challenged the courts authority to preside over the case

at the exact moment that it was discovered that no images were found on any of

Woods' devices.

               3.    Failure to Present and Discuss the Final Version of the PSR
                     Before Sentencing

      Here, Donahue failed to present the final PSR to Woods prior to sentencing.

He displayed blatant ineffective counsel when he failed to present and discuss the

probation officer's findings that were annotated in the PSR within seven (7) days of

the sentencing hearing.

      In accordance with the Federal Rules of Criminal Procedures Rule 32(e)(2) and

Rule 3 2(i)( 1 )(A), in general, at sentencing, the appointed counsel must abide by these

rules and procedures set forth by the law. This is another example of how Donahue

made a mockery of the judicial system by breaking the law and doing whatever he

wanted, whenever he wanted to. This lack of action is a Plain Error that caused

prejudice against Woods and spiraled into other events that lead to Woods' exposure

to an unlawful sentencing.




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             4.    Failure to Seek Any Mitigating Expert Opinions That
                   Support Innocence

      Donahue did not attempt to investigate this case any further than what the

prosecuting attorney has told him. Had Donahue hired a neutral party investigator, it

would have been discovered that None of the images found were on any of the

movants devices that were seiged during a raid of his home. This is crucial

information because the Federal Rules of Criminal Procedure 32(a)(1)(A) states that

the court can not accept a guilty plea with insufficient factual basis. An investigator

would have also revealed that messages that were found on Facebook were not linked

to any of Woods' devices or accounts. Each message's IP address was from a

different state while there is proof that Woods was in Texas during the exact same

time frame. This factual basis is crucial to Woods' defense and alibi. Had Donahue

done his job and actually looked for evidence that supported a defense, or at

minimum, challenged the evidence that was presented, Woods would never have pled

guilty to an accusation that he was completely innocent of. The attorneys ineffective

assistance of counsel violated Woods' Constitutional rights and the laws that govern

Due Process.

      More so, Donahue failed to seek expert opinions to provide a solid defense that

would prove Woods' innocence. He never looked outside of the prosecutor's



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discovery packet to build a defense contrary to the allegations. Had Donahue hired

an investigator to research and interview witness, he would have discovered that

Woods suffered from PTSD and was unable to knowingly and willingly make a guilty

plea and accept a Plea Agreement. This is crucial information that would have caused

a different outcome. A person suffering from PTSD would more than likely resort to

a psychological defense strategy that would trigger him to shutdown and be accepting

to anything a superior suggests or orders. Woods insist that the only reason that he

pled guilty to the charges was in an attempt to find the quickest and easiest solution

to the problem, even if it meant sacrificing himself.

      Donahue failed as a representative and because of his lack of counsel, Wood

accepted a bogus plea and pled guilty to a crime that he did not commit.

      Donahue has made it clear that he did not intend to represent Woods in an

attempt to prove his innocence but rather to help the government secure a conviction

that would boost the ratings for the Assistant District Attorney. Donahue, erred by not

taking the appropriate steps to examine the discovery and present a reasonable

defense to the ridiculous allegations that were brought before the court against

Woods. Donahue was completely unable to defend Woods with the minute amount

of time that was spent interviewing him [Woods] about the case and points. Without

the full story it is impossible to prepare and operate effectively as a counsel for a

movant who wishes to go to trial.

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      In addition, Donahue never attempted to seek a professional opinion about

whether or not Woods, who has been diagnosed with PTSD, was capable of pleading

guilty at the time of the hearing. It was impossible for the attorney to determine if

Woods was mentally prepared for such a traumatic episode such as trial. Donahue

erred by convincing and allowing Woods to speak in open court.

             5.     Failure to Acknowledge That the Plea Agreement Signed
                    Was A Different Version Than the One That Was Read in
                    Court

      Donahue has either allowed or has assisted in manipulating Woods and the

Court by secretly switching the Plea Agreement that was actually signed with a

similar but more dangerous agreement that was read by the government's attorney.

The signed Plea Agreement can be examined to find that the final page, which is the

signature page, was intentionally formatted to have space for nothing but the

signature. As fair fetch as this may sound, Donahue has attempted and succeeded at

tricking Woods into signing the Plea Agreement. For the record, on the day that the

Plea Agreement was signed, Donahue brought to Woods nothing but a signature page

to sign and used Woods' trust as a weapon to convince him to sign without reading

the actually agreement. Woods insist that he did not realize that the versions had been

switched until it was read in Court. Let the record reflect that Woods plainly said

"NO" to the question of whether the plea deal agreement was correct. The transcript

will provide the truth of this matter.

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      B.     Sentencing Counsel's Failure To: (1) Challenge the Double
             Jeopardy Clause Violation, Knowing That the Lesser Offense
             is Defined in the Greater Offense: (2) Challenge the Wrongful
             Imposition of the § 2G2 Enhancement: (3) Acknowledge the
             Breach and Faultiness of the Plea Agreement After the
             Investigator. Special Agent Jaime Gorsuch Testified; (4)
             Object to the Entering of Dubious Exhibits: and (5)
             Wrongfully Facilitated and Advised the Acceptance of An
             Unknowing and Involuntary Plea Deprived Him of Effective
             Assistance of Counsel and A Fair and Just Sentence.

             1.    Failure to Challenge the Double Jeopardy Clause
                   Violation. Knowing That the Lesser Offense is Defined in
                   the Greater

      Woods' right against double jeopardy was violated because possession of

sexually explicit material under 18 U.S.C.    §   2252(a)(4)(B) was lesser-included

offense of receipt of sexually explicit material and government had not sufficiently

alleged separate conduct; Woods' consecutive sentences for both receipt and

possession ofmaterial involving sexual exploitation of minors constituted plain error

and that this affected substantial rights by imposing on him potential collateral

consequences of an additional conviction.

      It should be beyond belief to this Court that Woods' counsel and the United

States Attorney, who are well educated and well trained in the complicated science

of law, did not know that the counting of 'possessing,' along side the count of

'receiving' would satisfy the Double Jeopardy Clause. This is without question an

illegal sentence, which violates the Woods' right to Due Process of Law.
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      Woods' rights were violated and his due process rights were ignored by

Donahue. Because of this lack of action, Woods was prejudiced and received a

sentence that was constitutionally wrong.

      Moreover, and lets not loose sight that, Woods pled guilty to this illegal and

unlawful sentence, which was not authorized by any statute or sentencing guideline,

on the horrible advice and defective assistance of the appointed counsel.

      The defense counsel in this case was no more than a COP-OUT-MAN, who

knew at all times that Woods was being sentenced illegally and charged twice for the

same crime. Donahue willfully and deliberately refused to object to this illegal

sentence and allowed Woods to plead guilty to a charge that was legally inaccurate.

Donahue's deliberate indifference and ignorance ofthe Sentencing Guidelines in this

guilty plea context was prejudicial because counsel's egregious error resulted in a

multiple level increase in Woods' guideline range that led to a 360-month sentence.

      In addition, Donahue's failure to correctly advise Woods about what he was

actually pleading guilty to was extremely prejudicial to Woods, in that he [Woods]

would not have accepted the Plea Agreement had he known that he was pleading

guilty to an illegal sentence. See United States   v.   McCoy, 215 F.3d 102, 108 (D.C.

                                                           (8th
2000); United States   v.   Granados, 168 F.3d 343, 346           Cir.1999).




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      Donahue has the obligation to conduct a reasonably substantial, independent

investigation. See Elmore    v.   Ozmint, 661 F.3d at 804. The Supreme Court has

explained the governing standard:

             Strategic choices made after thorough investigation of law
             and facts relevant to plausible options are virtually
             unchallengeable; and strategic choices made after less than
             complete investigation are reasonable precisely to the
             extent that reasonable professional judgments support the
             limitations on investigation. In other words, counsel has a
             duty to make reasonable investigations or to make a
             reasonable decision that makes particular investigations
             unnecessary. In any ineffectiveness case, a particular
             decision not to investigate must be directly assessed for
             reasonableness in all the circumstances, applying a heavy
             measure of deference to counsel's judgments.

Strickland, 466 U.S. at 690-91.

             2.      Failure to Challenge the Wrongful Imposition of the § 2G2
                     Enhancement

      Donahue failed to challenge the wrongful imposition of the USSG            §   2G2

enhancement.

      The District Court failed to find facts necessary to support enhancement

regarding ages of children depicted in pornography by preponderance of evidence

when those facts were contested by defendant. In United States       v.    Tidwell, No.

05-7018   (lOth
                  Cir. 2006), the defendants sentence was reversed and case was

remanded for resentencing.

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      A district court may not satisfy its obligation to find contested facts supporting

a sentencing enhancement by simply adopting the PSR as its finding. In Booker and

Fanfan,   it was stated that unless there's been a jury finding or an admission by the

defendant to certain sentencing factors that they should not be considered in the

computation of the guidelines. Id.

              3.    Failure to Acknowledge the Breach and Faultiness of the
                    Plea Agreement After the Investsigator. Special Agent
                    Jaime Gorsuch Testified.

      While cross-examining SA Gorsuch of the U.S. Army CID, he stated under

oath that "no image of any persons named in the Plea Agreement as victims were

found" in any of Woods' devices       that were seized during his investigation. This

statement is crucial evidence that would show beyond doubt that the case is bogus

and that there was a breach of the Plea Agreement. The entire Plea Agreement was

false and malicious, hence, Donahue failed to acknowledge its fault.

              4.     Failure to Object to the Entering of Dubious Exhibits

      Donahue allowed for the government's attorney to enter a photograph of

Woods' vehicle(1999 GMC YUKON), that was alleged to have been at Lions Park

on September 1, 2014. After Woods pled guilty to the charges, the photo was shown

to him. Immediately, Woods' examined the photo that was in the discovery and

noticed that the background of the photo was clearly of a hospital that is located on

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the Fort Hood Military installation in Texas. When Woods understood that this was

the evidence being used against him, he rejected the photo as being accusatory and

accepted it as an Alibi of his whereabouts on the day of questioning. This fact should

have brought into questioning the integrity of the witnesses credibility and ability to

use the photo as incriminating. However, it was found out that Donahue discussed

Woods' findings with the government's attorney, who in turn, edited the photo and

"cropped-out" the background of the photo and zoomed in to ensure that only the

license plate of Woods' vehicle would be seen in the photo. This is an example of

malicious prosecution, being performed by the government.

      This proves that Donahue and the government were working "together" to

secure Woods' conviction.

             5.     Wrongfully Facilitated and Advised the Acceptance of An
                    Unknowing and Involuntary Plea

      "[C]riminal justice today is for the most part a system of pleas, not a system of

trials... [T]he right to adequate assistance of counsel cannot be defined or enforced

without taking account of the central role plea bargaining plays in securing conviction

and determining sentence." Lafler v. Cooper, 132 S. Ct. 1376, 1388 (2012). Because

of"[tjhe reality [} that plea bargains have become so central to the administration of

the criminal justice system...," Missouri v. Frye, 132 S. Ct. 1399, 1407 (2012), the



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Supreme Court recently recognized that the Sixth Amendment right to counsel

"extends to the plea-bargaining process. During plea negotiations defendant are

entitled to the effective assistance of competent counsel." Lafler, 132 S. Ct. at 1384

(internal citations and quotation marks omitted); see also, Frye, 132 S. Ct. at 1407.

         The Fifth Circuit has observed that providing counsel to assist a defendant in

deciding whether to plead guilty is "[o}ne of the most precious applications of the

Sixth Amendment." Un ited States v. Grammas, 376 F.3d 433 (5 Cir. 2004) (quoting

Reedy. United States, 354 F.2d 227,229 (5th Cir. 1965)). When considering whether

to plead guilty or proceed to trail, a defendant should be aware of the relevant

circumstances and the likely consequences of his decision so that he can make an

intelligent choice. See Teaque v. Scott, 60F.3d 1167, 1170     (Sth
                                                                      Cir. 1995). Where a

defendant persists in a plea of not guilty, counsel's failure to properly inform him

about potential sentencing exposure may constitute ineffective assistance. United

States   v.   Ridgeway, 321 F.3d 512, 514 (5th Cir. 2003).

         To obtain relief on an ineffective assistance claim, Woods ultimately must

demonstrate that his attorney's performance was deficient, and that there is a

reasonable probability that, but for counsel's deficient performance, he would have

proceeded to trial. See Hill      v.   Lockhart, 474 U.S. 52, 59 (1985); Strickland    v.


Washington, 466 U.S. 668, 687(1984) ("Strickland"); see also,Lafler v. Cooper, 132


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S. Ct. 1376 (2012) ("Lafler"); Missouri v. Frye, 132 S. Ct. 1399 (2012) ("Frye");

Padilla v. Kentucky, 130 S. Ct. 1473, 1480-8 1 (2010) ("Padilla") ("Before deciding

whether to plead guilty, a defendant is entitled to 'the effective assistance of

competent counsel.") (quoting McMann v. Richardson, 397 U.S. 759, 771 (1970)).

       In this case, Donahue exhibited a terrible display of effective counsel when he

encouraged a bogus Plea Agreement that was factually void of any truth to support

the conviction. Donahue failed to challenge several topics prior to Woods' guilty

plea. For example: subject matter jurisdiction, insufficient factual basis, and

presenting an affirmative defense given by the statute.

       The Plea Agreement was made and accepted while Woods was under duress

and psychologically unfit. The basis of the Plea Agreement was designed from false

statements that have been debunked and are incomplete of facts.

       Although Woods pled guilty to possession of Child Pornography in violation

of   18 U.S.C. § 2252(a)(1), not one image set the statutory definition      of child

pornography and thus, finding of guilty was factually deficient with regards to every

aspect of this conviction. In United States v. Page, (2011 CCA Lexis 380), the trial

court only affirmed so much of finding of guilty as found that he actually possessed.

The point is that it must be impossible to convict a person without actual proof and

with fictitious threats.

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      Donahue, in his indifferent attitude, recommended for Woods to enter into a

dubious Plea Agreement that was designed around lies. It should be known that the

government has deliberately manipulated the court and Woods by stating that they

can "beyond a reasonable doubt" prove that Woods 'Possessed' and 'Received' child

pornography from six specific individuals, who were named in the Plea Deal.

However, during the sentencing phase, and according to the PSR, the leading

investigator confessed on the witness stand that NO photos of any of the specific

individuals named in the plea deal were found on any of Woods' property.

      Furthermore, it is documented in the PSR Addendum (p. 3A, in response #6),

that " Law enforcement was unable to accurately determine the age of the females

depicted in the images as the images were close up". Despite this affirmation, the

government still made an approximation of 150-299 images found and considers this

amount conservative. It should be obvious that this is a plain error to assume that

unidentified persons are under age when no evidence within the images themselves

can lead an average person to believe that the persons were under age.

      In Minnesota v. Camady, the courts insist that the prosecutors "must prove that

the individual is under the age and that the accused knew the age of the person

depicted". This entire case is built upon hearsay with absolutely zero evidence to

support a conviction. Therefore, the appropriate remedy is to vacate all charges,

sentences, and convictions.

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      Ifwe apply the Burden of Proof Test as described in Minnesota v. Camady and

use the government's definition of Child Pornography together, it is clear that any

evidence that supports a conviction must be of an "identifiable minor". The Judge and

the Prosecutor Must make clear that the images in question depict images of actual

"identifiable minors" to support a conviction. The images must be recognizable as an

actual person by the persons face, likeness, or distinguishable likeness (birthmark,

scar, tattoo etc.). It also will be clear that a conviction must require that an average

person would determine beyond a reasonable doubt that the image is of a minor and

not an under developed 18-year old. In conclusion to this ground being made, it

should be known that Woods was unjustly convicted without evidence to support a

fair sentence.

      In Brock-Miller   v.   United States, (No. 16-3050) (7th Cir. 2018), it was found

that the lawyers failure to investigate various aspects of the cases discovery, led to

advising her to take a deal that, "was really no deal at all," she argued. Brock-Miller,

just like the movant, wrongly thought that she was facing 20 years, when in fact she

was sentenced to far more. Due to the ineffective assistance of counsel displayed by

Donahue, the monvant ignorantly accepted a plea deal agreement that according to

the sentencing guidelines, had the potential to reach 360 months, the equivalent to 30

years in prison.

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      As such, Donahue performed below an objective standard of reasonableness.

Had he familiarized himself with the facts and researched the applicable law and

sentencing guidelines, he would have been able to correctly inform Woods of the

likely consequences and hurdles that he faced if he pled guilty or proceeded to trial.

He simply failed to do so, and as a result, Woods was prejudiced by receiving a 360-

month sentence. Glover, supra. Donahue misrepresentation of material facts, which

Woods wholly relied on, constituted deficient performance. He suffered prejudice

from Donahue's acts and omissions when he received a 360-month sentence. As such,

Woods easily meets Strickland's two prong test for ineffective assistance of counsel

and relief should be granted in the first instance. Donahue's errors in this case were

so blatant and flagrant that the Court can conclude that they resulted from a lack of

experience, or neglect rather than an informed professional deliberation. He failed his

duty to properly advise Woods.

      Donahue's advice was not a predication, probability, or an estimate, but rather

a lack of communication with Woods. In turn, Woods had to wholly rely on his

erroneous advice. Thus, Woods was not fairly apprised of the consequences of his

decision to plead guilty. In other words, Woods' reliance on Donahue's significantly

flawed advice about the consequences of pleading guilty rather than proceeding to

trial violated his due process rights. See Hill, 474 U.S. at 56.

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       Had Donahue advised Woods of the true sentencing exposure he faced if he

pled guilty, there is a reasonable probability that he would have proceeded to trial.

Worse yet, Donahue failed to negotiate any reasonable plea agreement with the

government that would have benefitted Woods.

       Donahue did not put the government's case to any kind of adversarial test. Had

he done so, there is a reasonable probability that Woods would have been found not

guilty at trial or benefitted with a significantly less harsh sentence.

       Accordingly, Woods' conviction and sentence should be vacated for relief in

the first instance.

       C.     Appellate Counsel's Failure To: (1) Consult Woods About
              Factual Details of Constitutional Violations Prior to Filing An
              Official Brief [Attorney Gregory. L. Ahlgrenj: (2) Ahigren
              Was Disciplined by His Superiors During the Course of the
              Appellate Proceeding and Was Ultimately Relieved From
              Duty Which Proves His Failures; and (3) Withdraw the Brief
              Submitted by Ahigren to Make Amendments and Submit An
              Effective Brief That Would Outline the Multiple Violations of
              the Constitution [Attorney Christopher Michael Mccaffreyl
              Deprived Woods of Effective Assistance of Appellate Counsel
              and A Fair and Meaningful Appellate Review.

       On appeal, Ahigren was Woods's appointed counsel, he failed to consult

Woods about factual details of constitutional violations prior to filing an official

Brief. As such, Woods did not have any input into his appeal. Ultimately, Ahigren

was disciplined by his superiors during the course of the appellate proceeding and

was ultimately relieved from duty which proves his failures.

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      On the other hand, McCaffrey, the alternate cour           1,   failed to withdraw the

Brief submitted by Ahigren. He made no effort to make            iendments and/or submit

an effective Brief that would outline the multiple violati       .s   of the Constitution.

      Both attorneys failed to acknowledge that Judge            ith should not have been

presiding over this case because his judgments are questi iable as discussed below.

      Accordingly, Woods's conviction and sentence mt            be vacated so that he may

plea anew.

      D.     Judge Smith's Abuse of Discretion Durin Each Phase of the
             Proceedings, As Follows: (1) Not Recusin Himself Pursuant
             to 28 U.S.C. § 455(a): (2) Accepting Guilt Plea Made Under
             Obvious Duress; (3) Denying Woods' M tion to Withdraw
             Plea of Guilty: (4) Proceeding with Sent ncing Phase After
             Verifying That Woods Had Not Viewed and Discussed the
             Final PSR with His Counsel: (5) Rejectin Valid Objections
             to tne rK; (0) eiying 01 ontestea i cts in tne rK to
             Support the Sentencing Enhancements; (7) Violating the
             Double Jeopardy Clause; and (8) On ering That Both
             Sentences to Be Ran Consecutively Depri ed Woods of Due
             Process Rights As Outlined in the Fift and Fourteenth
                                                             t



             Amendments.

      In thi case, Judge Smith, who presided over Wo ds' trial was a pre siding

judge over )revious trials while 'under the influence            f alcohol'    and w s 'not

functional' I ecause of his drinking habits and therefore vas 'unfit to presid e over

trials.' This type of unfit and dysfunctional behavior wa a continuously pr cticed

pattern of Ju dge Smith that stretched throughout time wi hout any interrupti ns for

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32 years and did not end until the month of September in 2016. It was also during that

time of 2016 that Judge Smith inappropriately sentenced Woods and many others so

similarly situated. Furthermore, the Judicial Council of The Fifth Circuit Court of

Appeals found that Judge Smith made 'inappropriate and unwanted physical and

non-physical advances' toward a female courthouse staff member in his court

chambers in 1998.

      Judge Smith, in a pathetic attempt to "cushion" and prove that he would remain

tough on crimes, especially of a sexual nature, considering the allegations against

himself, went way beyond a reasonable sentence while presiding over this case,

violating the Eighth Amendment.

             1.     Not Recusing Himself Pursuant to 28 U.S.C.    §   455(a)

      Judge Smith abused his discretion when he did not recuse himself throughout

the proceedings of this case. Because Judge Smith' spending Grand Jury investigation

was a violation of the U.S. Constitution, his failure to recuse himself is also a

violation of Due Process in accordance with the Fifth and Fourteenth Amendments.

      First, Woods argues that the Judge was biased and has failed to impartially and

competently perform Judicial duties. The right to a fair and impartial trial is

fundamental to the litigant. Fundamental to the Judiciary is the public confidence in

the impartiality ofourjudges and the proceedings over which they preside. This is the

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purpose of 28 U.S.C.      §   455(a). The goal of section 455(a) is to avoid even the

appearance of impartiality. Put simply, avoiding the appearance of impropriety is as

important in developing public confidence in our judicial system as avoiding

impropriety itself.

       In Hurles   v.   Ryan, 706 F.3d 1021 (9th Cir. 2013), it insist that the U.S.

constitution requires recusal where probability of actual bias on part of a judge or

decision maker is too high to be constitutionally tolerable.

       There is a "presumption of honesty and integrity in those serving as

adjudicators". Therefore we should not, even by inadvertence, impute to judges a lack

of firmness, wisdom, or honor. See Bridges v. Cal (fornia, 314 U.S. 252, 273, 62       S.

Ct. 190, 86L. Ed. 192.

       In circumstances like this case, the Judge is required to have the integrity to

take the initiative to resign, recuse, or disqualify himselfin order to save time, money,

and the reputation of the entire Judicial system, especially other Judges who are not

morally compromised.

      It is without a doubt that Judge Smith, in this case, wholly abandoned his

Judicial role in such a manner that no reasonable person would make an analysis that

the trial is fair and unbias. In accordance with law, 28 U.S.C. § 455(a) puts the judge

under a self-enforcing obligation to recuse himself where legal grounds exist for

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disqualification. The standard is no longer a subjective one but is now objective. The

statute does not "allow" ajudge to disqualify himself if he thinks he could be affected

by external matters, such as being under investigation. Rather, the statute "Demands"

him to disqualify himself if the public may perceive him, or his rulings, as being

affected. Thus a judge faced with a potential ground for disqualification ought to

consider how his participation in a given case looks to the average person on the

street.

          Keep in mind that the Fifth Circuit Court of Appeals Judicial Council found

that Judge Smith had made "inappropriate and unwanted Physical and non-physical

sexual advances" toward a court clerk in his chambers, which it deemed " in

contravention of existing standards of behavior for Federal Judges". The Councils

order also said that Judge Smith, "does not understand the gravity" of the

inappropriate behavior and that "he lied" to investigators. The magnitude of this

statements only should make it plainly clear that Judge Smith was incapable of

presiding over Woods' case with honesty and integrity. There is no way that this

injustice should prevail during these perilous times when the notorious "METOO"

movement is going viral and so easily accessible. This circumstance fairly falls under

the umbrella of the "Fruit of the Poisonous Tree Doctrine"! Judge Smith was poison

and everything he touched pertaining to this case was also poisoned by proximity.

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The guilty plea should have never been accepted and the denial of the Withdrawal of

Woods' guilty plea should have been accepted. Also, the cruel and Constitutionally

illegal sentence should have never been imposed on Woods.

      The fact of the matter is that Woods pled guilty on October 15, 2015 and Judge

Smith was reprimanded in December of 2015. Which means that up until December

of 2015, Judge Smith was still under investigation and morally compromised while

presiding over Woods' proceedings. Had Judge Smith done the right thing and

recused himself, Woods would not have been subjected to a prejudicial judgement

and violation of his Constitutional rights and Due Process.

             2-3.   Accepting Guilty Plea Made Under Obvious Duress and
                    Denying Woods' Motion to Withdraw Plea of Guilty

      Judge Smith erred by accepting Woods' guilty plea while he was obviously

under duress. Woods boldly declared that the factual basis of the plea deal agreement

was incorrect despite the fact that Donahue did not object to the furthering of the

proceeding. The Constitution insist that the Judge will not accept a plea deal from a

movant who is under duress or is not psychologically capable of making such a

decision.

      Furthermore, once the movant decided that he could no longer operate under

duress and prayed for the court to allow for a Withdrawal of the Guilty Plea, the

Judge erred by denying the Motion and moving forward with the proceedings.

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             4-6.   Proceeding with Sentencing Phase After Verifying That
                    Woods Had Not Viewed and Discussed the Final PSR with
                    His Counsel. Rejecting Valid Objections to the PSR. and
                    Relying of Contested Facts in the PSR to Support the
                    Sentencing Enhancements

      Judge Smith violated Woods' Constitutional rights when he continued the

Sentencing Hearing after being made aware that the revised PSR had not been viewed

by Woods.

      In accordance with the Federal Rules ofCriminal Procedures Rule 32(e)(2) and

Rule 32(i)(1)(A), in general, at sentencing, the court must verify that the defendant

and the defendant's attorney have read and discussed the Presentencing report and

any addendum to the report. In addition the rule states that the PSR must be reviewed

by a defendant no less than seven (7) days prior to sentencing. This is a Plain Error

that Judge Smith decided to ignore and abused his discretion.

      Even more to the point, Judge Smith erred by not rescheduling a sentencing

hearing when Woods declared that he had not seen or discussed the final version of

the PSR with his attorney prior to receiving the sentence. Also, during this sentencing

phase, Judge Smith erred by adopting the recommendation of the Probation Officer.

The PSR, wrongly applied multiple enhancements that ultimately led to Woods' 360-

month sentence, which was absurdly cruel and unusual.
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      Woods' Constitutional rights have been totally violated and he was never

afforded the luxury of Due Process. The only fair remedy for this unjust

demonstration is to vacate the sentence.

             7-8.   Violating the Double Jeopardy Clause and Ordering That
                    Both Sentences to Be Ran Consecutively

      Judge Smith violated Woods' Constitutional rights when he both convicted and

sentenced him [Woods] for both Possession and Receipt of Child Pornography in

violation of the Double Jeopardy Clause.

      Defendant's right against double jeopardy was violated because 'possession'

of sexually explicit material under   18 U.S.C. § 2252(a)(4)(B) is a lesser-included

offense of 'receipt' of sexually explicit material, and the government had not

sufficiently alleged separate conduct. Woods' consecutive sentences for both receipt

and possession of material involving sexual exploitation of minors constituted plain

error and that this affected substantial rights by imposing on him potential collateral

consequences of additional conviction.

      Possession of child pornography under 18 U.S.C.        §   2252(a)(5)(B), does not

require proof of element that receipt under 18 U.S.C.   §   2252(a)(2), does not; under

Blockburger Test, offense of possessing child pornography is lesser included offense

of receipt of child pornography.


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       Because offense of possessing child pornography in violation of 18 U.S.C.     §


225 2(a)(4)(B) is lesser included offense of receipt of child pornography, in violation

of   18 U.S.C. § 2252(a)(2), conviction and punishment for both is therefore

constitutionally impermissible.

       Allegation of different dates of commission for each offense by itself is

insufficient to carve out separate conduct; once person receives something, that

person also necessarily possesses it as of that moment, based upon single action (like

downloading file); thus, merely citing different dates or date ranges for receipt and

possession charges alone does not suffice to separate conduct for double jeopardy

purposes; rather, government must allege and prove distinct conduct underlying each

charge, whether conduct underlying each charge occurred on same or different dates.

       In short, a guilty plea or Plea Agreement does not waive a double jeopardy

challenge to a charge where, judged from the face of the indictment and the record

existing at the time the plea was entered, the charge is one that the government could

not constitutionally prosecute under the Double Jeopardy Clause. As a matter of plain

meaning, one obviously cannot "receive" an item without then also "possessing that

item, even if only for a moment.




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                               VI. CONCLUSION

      For the above and foregoing reasons, Woods's conviction and sentence

must be vacated so that Woods can plea anew. In the alternative, it is respectfully

requested that the Court hold an evidentiary hearing should be held so that Woods

may further prove his meritorious ground for relief, resolve any disputed facts, and

expand an incomplete record.

                                             Respectfully submitted,



Dated: July IL 2018.
                                             LAWRENCE WOODS
                                             REG. NO. 49948-3 80
                                             FCI BEAUMONT MEDIUM
                                             FEDERAL CORR. INSTITUTION
                                             P.O. BOX 26040
                                             BEAUMONT, TX 77720
                                             Appearing Pro Se

                  DECLARATION OF LAWRENCE WOODS

       I, Lawrence Woods, declarant herein, declare and attest to the facts in the
above and foregoing Memorandum of Law in Support of Motion under 28 U.S.C.
§ 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody
to be true and correct to the best of my knowledge under the penalty of perjury
pursuant to 28 U.S.C. § 1746 and that I placed the Motion and Memorandum of
Law in the mailbox of this institution on July li,2018.



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